Case 1:19-cr-00098-CMA Document 45-2 Filed 07/10/19 USDC Colorado Page 1 of 1




 DEFENDANT: Rajay Dobson

 YOB: 1990

 ADDRESS (CITY/STATE): Spanish Town, Kingston, Jamaica

 OFFENSE(S):            Count 1: Conspiracy to Commit Mail Fraud, 18 U.S.C. § 1349

                        Counts 2- 10: Aiding and Abetting Mail Fraud
                                      18 U.S.C. §§ 1341 and 2

 COMPLAINT FILED? ___X___ YES            NO 19-mj-00136-MEH


 LOCATION OF OFFENSE (COUNTY/STATE): Larimer County, CO

 PENALTY:        Count 1: NMT 20 years in prison, NMT $250,000 fine, or twice the
                 financial gain or loss from the offense, whichever is greater, or both
                 imprisonment and a fine; NMT 3 years of supervised release; $100 special
                 assessment

                 Counts 2- 10: NMT 20 years in prison, NMT $250,000 fine, or twice the
                 financial gain or loss from the offense, whichever is greater, or both
                 imprisonment and a fine; NMT 3 years of supervised release; $100 special
                 assessment


 AGENTS: FBI Special Agents Kevin P. Hoyland and Amy L. Howard

 AUTHORIZED BY: Martha A. Paluch
                Sarah H. Weiss
                Assistant U.S. Attorneys

 ESTIMATED TIME OF TRIAL:

  _       five days or less       X    over five days            other

 THE GOVERNMENT

      X    will seek detention in this case             will not seek detention in this case

 The statutory presumption of detention is not applicable to this defendant.

 OCDETF CASE:                  Yes       X         No
